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8
                               UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10
11     Martin Vogel                             Case No.

12               Plaintiff,
                                                Complaint For Damages And
13       v.                                     Injunctive Relief For Violations
                                                Of: Americans With Disabilities
14     Matthews Investment Co., a               Act; Unruh Civil Rights Act
       California Corporation
15
                 Defendants.
16
17
           Plaintiff Martin Vogel complains of Matthews Investment Co., a
18
     California Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. He is a T3
22
     paraplegic who cannot walk and who uses a wheelchair for mobility.
23
       2. Defendant Matthews Investment Co. owned the real property located
24
     at or about 9514 Reseda Blvd, Northridge, California, upon which the
25
     business “Baskin-Robbins” operates, in July 2019.
26
       3. Defendant Matthews Investment Co. owns the real property located at
27
     or about 9514 Reseda Blvd, Northridge, California, upon which the business
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1    “Baskin-Robbins” operates, currently.
2      4. Plaintiff does not know the true names of Defendants, their business
3    capacities, their ownership connection to the property and business, or their
4    relative responsibilities in causing the access violations herein complained of,
5    and alleges a joint venture and common enterprise by all such Defendants.
6    Plaintiff is informed and believes that each of the Defendants herein is
7    responsible in some capacity for the events herein alleged, or is a necessary
8    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
9    the true names, capacities, connections, and responsibilities of the Defendants
10   are ascertained.
11
12     JURISDICTION & VENUE:
13     5. The Court has subject matter jurisdiction over the action pursuant to 28
14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16     6. Pursuant to supplemental jurisdiction, an attendant and related cause
17   of action, arising from the same nucleus of operative facts and arising out of
18   the same transactions, is also brought under California’s Unruh Civil Rights
19   Act, which act expressly incorporates the Americans with Disabilities Act.
20     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
21   founded on the fact that the real property which is the subject of this action is
22   located in this district and that Plaintiff's cause of action arose in this district.
23
24     FACTUAL ALLEGATIONS:
25     8. Plaintiff went to Baskin-Robbins in July 2019 with the intention to avail
26   himself of its goods and to assess the business for compliance with the
27   disability access laws.
28     9. Baskin-Robbins is a facility open to the public, a place of public


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1    accommodation, and a business establishment.
2      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
3    to provide wheelchair accessible parking in conformance with the ADA
4    Standards as it relates to wheelchair users like the plaintiff.
5      11. Baskin-Robbins provides parking to its customers but fails to provide
6    wheelchair accessible parking.
7      12. One problem that plaintiff encountered is that the parking stalls and
8    access aisles marked and reserved for persons with disabilities had slopes that
9    exceeded 2.1% and were no van-accessible parking spaces.
10     13. Plaintiff believes that there are other features of the parking that likely
11   fail to comply with the ADA Standards and seeks to have fully compliant
12   parking for wheelchair users.
13     14. On information and belief, the defendants currently fail to provide
14   wheelchair accessible parking.
15     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
16   personally encountered these barriers.
17     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
18   wheelchair accessible facilities. By failing to provide accessible facilities, the
19   defendants denied the plaintiff full and equal access.
20     17. The failure to provide accessible facilities created difficulty and
21   discomfort for the Plaintiff.
22     18. Even though the plaintiff did not confront the following barriers, the
23   paths of travel along the walkway in front of various businesses narrows to less
24   than 36 inches in width when tenants keep their doors propped open.
25   Additionally, there are cross slopes that are well above 2.1% along the path of
26   travel leading to Baskin-Robbins.
27     19. The defendants have failed to maintain in working and useable
28   conditions those features required to provide ready access to persons with


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1    disabilities.
2      20. The barriers identified above are easily removed without much
3    difficulty or expense. They are the types of barriers identified by the
4    Department of Justice as presumably readily achievable to remove and, in fact,
5    these barriers are readily achievable to remove. Moreover, there are numerous
6    alternative accommodations that could be made to provide a greater level of
7    access if complete removal were not achievable.
8      21. Plaintiff will return to Baskin-Robbins to avail himself of its goods and
9    to determine compliance with the disability access laws once it is represented
10   to him that Baskin-Robbins and its facilities are accessible. Plaintiff is
11   currently deterred from doing so because of his knowledge of the existing
12   barriers and his uncertainty about the existence of yet other barriers on the
13   site. If the barriers are not removed, the plaintiff will face unlawful and
14   discriminatory barriers again.
15     22. Given the obvious and blatant nature of the barriers and violations
16   alleged herein, the plaintiff alleges, on information and belief, that there are
17   other violations and barriers on the site that relate to his disability. Plaintiff will
18   amend the complaint, to provide proper notice regarding the scope of this
19   lawsuit, once he conducts a site inspection. However, please be on notice that
20   the plaintiff seeks to have all barriers related to his disability remedied. See
21   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
22   encounters one barrier at a site, he can sue to have all barriers that relate to his
23   disability removed regardless of whether he personally encountered them).
24
25   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
26   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
27   Defendants.) (42 U.S.C. section 12101, et seq.)
28     23. Plaintiff re-pleads and incorporates by reference, as if fully set forth


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1    again herein, the allegations contained in all prior paragraphs of this
2    complaint.
3      24. Under the ADA, it is an act of discrimination to fail to ensure that the
4    privileges, advantages, accommodations, facilities, goods and services of any
5    place of public accommodation is offered on a full and equal basis by anyone
6    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
7    § 12182(a). Discrimination is defined, inter alia, as follows:
8             a. A failure to make reasonable modifications in policies, practices,
9                 or procedures, when such modifications are necessary to afford
10                goods,    services,    facilities,   privileges,    advantages,   or
11                accommodations to individuals with disabilities, unless the
12                accommodation would work a fundamental alteration of those
13                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
14            b. A failure to remove architectural barriers where such removal is
15                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
16                defined by reference to the ADA Standards.
17            c. A failure to make alterations in such a manner that, to the
18                maximum extent feasible, the altered portions of the facility are
19                readily accessible to and usable by individuals with disabilities,
20                including individuals who use wheelchairs or to ensure that, to the
21                maximum extent feasible, the path of travel to the altered area and
22                the bathrooms, telephones, and drinking fountains serving the
23                altered area, are readily accessible to and usable by individuals
24                with disabilities. 42 U.S.C. § 12183(a)(2).
25     25. When a business provides parking for its customers, it must provide
26   accessible parking.
27     26. Here, accessible parking has not been provided in conformance with the
28   ADA Standards.


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1      27. When a business provides paths of travel, it must provide accessible
2    paths of travel.
3      28. Here, accessible paths of travel have not been provided in conformance
4    with the ADA Standards.
5      29. The Safe Harbor provisions of the 2010 Standards are not applicable
6    here because the conditions challenged in this lawsuit do not comply with the
7    1991 Standards.
8      30. A public accommodation must maintain in operable working condition
9    those features of its facilities and equipment that are required to be readily
10   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
11     31. Here, the failure to ensure that the accessible facilities were available
12   and ready to be used by the plaintiff is a violation of the law.
13
14   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
15   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
16   Code § 51-53.)
17     32. Plaintiff repleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
20   that persons with disabilities are entitled to full and equal accommodations,
21   advantages, facilities, privileges, or services in all business establishment of
22   every kind whatsoever within the jurisdiction of the State of California. Cal.
23   Civ. Code §51(b).
24     33. The Unruh Act provides that a violation of the ADA is a violation of the
25   Unruh Act. Cal. Civ. Code, § 51(f).
26     34. Defendants’ acts and omissions, as herein alleged, have violated the
27   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
28   rights to full and equal use of the accommodations, advantages, facilities,


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1    privileges, or services offered.
2       35. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
3    discomfort or embarrassment for the plaintiff, the defendants are also each
4    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
5    (c).
6
7             PRAYER:
8             Wherefore, Plaintiff prays that this Court award damages and provide
9    relief as follows:
10          1. For injunctive relief, compelling Defendants to comply with the
11   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
12   plaintiff is not invoking section 55 of the California Civil Code and is not
13   seeking injunctive relief under the Disabled Persons Act at all.
14          2. Damages under the Unruh Civil Rights Act, which provides for actual
15   damages and a statutory minimum of $4,000 for each offense.
16          3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
17   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
18
     Dated: February 24, 2021            CENTER FOR DISABILITY ACCESS
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21
                                         By: _______________________
22
                                               Russell Handy, Esq.
23                                             Attorney for plaintiff
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